            Case 3:22-cv-01680-JR         Document 15     Filed 12/21/22     Page 1 of 10




Michael Porter, P.C., OSB No. 003560
mike.porter@millernash.com
Erin M. Burris, OSB No. 155379
erin.burris@millernash.com
MILLER NASH LLP
US Bancorp Tower
111 SW Fifth Ave, Ste 3400
Portland, OR 97204
Telephone: 503.224.5858
Facsimile: 503.224.0155

           Attorneys for Defendants
           University of Portland and Megan Burton




                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION



RYANN GREGG,                                                             CV No. 3:22-cv-01680-JR

                       Plaintiff,                    STIPULATED PROTECTIVE ORDER

           v.

UNIVERSITY OF PORTLAND;
MEGAN BURTON; and JANE DOE,

                       Defendants.


                   One or more of the parties has requested the production of documents or

information that at least one party considers to be or to contain confidential information, and that

are subject to protection under Federal Rule of Civil Procedure 26(c).




Page 1 -        Stipulated Protective Order
           Case 3:22-cv-01680-JR       Document 15       Filed 12/21/22       Page 2 of 10




               The parties agree that good cause exists to protect the confidential nature of the

information contained in documents, interrogatory responses, responses to requests for

admission, or deposition testimony. This action concerns the claims of a student arising out of

the student’s attendance at the University of Portland (the “University”). The parties expect to

exchange documents and information relating to educational, medical, or mental health

information and records, including personally identifiable health information of the plaintiff,

Ryann Gregg. The parties also expect to exchange documents and information relating to

educational, medical, mental health, and other sensitive or private records about defendant Jane

Doe, who was a minor at times related to this case. The parties also may exchange documents

and information relating to the University’s employees, students, and other potentially sensitive

information and documentation in its possession. The parties agree that the entry of this

Stipulated Protective Order (“Protective Order”) is warranted to protect against disclosure of

such documents and information.

               Based upon the above stipulation of the parties, and the Court being duly advised,

IT IS HEREBY ORDERED as follows:

               1.      All documents, testimony, and other materials produced by the parties in

this case and labeled “Confidential” shall be used only in this proceeding.

               2.      Use of any information or documents labeled “Confidential” and subject

to this Protective Order, including all information derived therefrom, shall be restricted solely to

the litigation of this case and shall not be used by any party for any business, commercial, or

competitive purpose. This Protective Order, however, does not restrict the disclosure or use of

any information or documents lawfully obtained by the receiving party through means or sources




Page 2 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR        Document 15        Filed 12/21/22      Page 3 of 10




outside of this litigation. Should a dispute arise as to any specific information or document, the

burden shall be on the party claiming that such information or document was lawfully obtained

through means and sources outside of this litigation.

               3.      The parties, and third parties subpoenaed by one of the parties, may

designate as “Confidential” documents, testimony, written responses, or other materials produced

in this case if they contain information that the producing party has a good faith basis for

asserting is confidential under the applicable legal standards. The party shall designate each page

of the document with a stamp identifying it as “Confidential,” if practical to do so.

               4.      If portions of documents or other materials deemed “Confidential” or any

papers containing or making reference to such materials are filed with the Court, they shall be

filed under seal and marked as follows or in substantially similar form:

               CONFIDENTIAL
               IN ACCORDANCE WITH A PROTECTIVE ORDER, THE ENCLOSURE(S)
               SHALL BE TREATED AS CONFIDENTIAL AND SHALL NOT BE SHOWN
               TO ANY PERSON OTHER THAN THOSE PERSONS DESIGNATED IN
               PARAGRAPH 7 OF THE PROTECTIVE ORDER.

If a party is filing a document that it has itself designated as “Confidential,” that party shall

reference this Stipulated Protective Order in submitting the documents it proposes to maintain

under seal. If a non-designating party is filing a document that another party has designated as

“Confidential,” then the non-designating party shall file the document under seal. If the non-

designating party makes a request in writing to have the document unsealed and the designating

party does not file, within ten calendar days, a motion that shows good cause to maintain the

document under seal, then the Court shall unseal the document. Before seeking to maintain the




Page 3 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR         Document 15      Filed 12/21/22      Page 4 of 10




protection of documents filed with the Court, a party must assess whether redaction is a viable

alternative to complete nondisclosure.

               5.      Within thirty (30) days after receipt of the final transcript of the deposition

of any party or witness in this case, a party or the witness may designate as “Confidential” any

portion of the transcript that the party or witness contends discloses confidential information. If a

transcript containing any such material is filed with the Court, it shall be filed under seal and

marked in the manner described in paragraph 4. Unless otherwise agreed, all deposition

transcripts shall be treated as “Confidential” until the expiration of the thirty-day period.

               6.      “Confidential” information and documents subject to this Protective Order

shall not be filed with the Court or included in whole or in part in pleadings, motions, briefs, etc.,

filed in this case, except when any portion(s) of such pleadings, motions, briefs, etc. have been

filed under seal by counsel and marked in the same manner as described in paragraph 4 above.

Such sealed portion(s) of pleadings, motions, briefs, documents, etc., shall be opened only by the

Court or by personnel authorized to do so by the Court.

               7.      Use of any information, documents, or portions of documents marked

“Confidential,” including all information derived therefrom, shall be restricted solely to the

following persons, who agree to be bound by the terms of this Protective Order, unless additional

persons are stipulated by counsel or authorized by the Court:

                       a.     Outside counsel of record for the parties, and the
                       administrative staff of outside counsel’s firms.

                       b.      In-house counsel for the parties, and the administrative
                       staff for each in-house counsel.

                       c.    Any party to this action who is an individual, and every
                       employee, director, officer, or manager of any party to this action



Page 4 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR       Document 15        Filed 12/21/22     Page 5 of 10




                       who is not an individual, but only to the extent necessary to further
                       the interest of the parties in this litigation.

                       d.      Independent consultants or expert witnesses (including
                       partners, associates and employees of the firm which employs
                       such consultant or expert) retained by a party or its attorneys for
                       purposes of this litigation, but only to the extent necessary to
                       further the interest of the parties in this litigation.

                       e.      The Court and its personnel, including, but not limited to,
                       stenographic reporters regularly employed by the Court and
                       stenographic reporters not regularly employed by the Court who
                       are engaged by the Court or the parties during the litigation of this
                       action.

                       f.      The authors and the original recipients of the documents.

                       g.      Any court reporter or videographer reporting a deposition.

                       h.      Employees of copy services, microfilming or database
                       services, trial support firms and/or translators who are engaged by
                       the parties during the litigation of this action.

               8.      Prior to being shown any documents produced by another party marked

“Confidential,” any person listed under paragraph 7(c) or 7(d) shall agree to be bound by the

terms of this Order by signing the agreement attached as Exhibit A.

               9.      Whenever information designated as “Confidential” pursuant to this

Protective Order is to be discussed by a party or disclosed in a deposition, hearing, or pre-trial

proceeding, the designating party may exclude from the room any person, other than persons

designated in paragraph 8, as appropriate, for that portion of the deposition, hearing or pre-trial

proceeding.

               10.     Each party reserves the right to dispute the confidential status claimed by

any other party or subpoenaed party in accordance with this Protective Order. If a party believes

that any documents or materials have been inappropriately designated by another party or



Page 5 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR           Document 15    Filed 12/21/22      Page 6 of 10




subpoenaed party, that party shall confer with counsel for the designating party. As part of that

conferral, the designating party must assess whether redaction is a viable alternative to complete

non-disclosure. If the parties are unable to resolve the matter informally, a party may file an

appropriate motion before the Court requesting that the Court determine whether the Protective

Order covers the document in dispute. Regardless of which party files the motion, the party

seeking to protect a document from disclosure bears the burden of establishing good cause for

why the document should not be disclosed. A party who disagrees with another party’s

designation must nevertheless abide by that designation until the matter is resolved by agreement

of the parties or by order of the Court.

               11.     The inadvertent failure to designate a document, testimony, or other

material as “Confidential” prior to disclosure shall not operate as a waiver of the party’s right to

later designate the document, testimony, or other material as “Confidential.” The receiving party

or its counsel shall not disclose such documents or materials if that party knows or reasonably

should know that a claim of confidentiality would be made by the producing party. Promptly

after receiving notice from the producing party of a claim of confidentiality, the receiving party

or its counsel shall inform the producing party of all pertinent facts relating to the prior

disclosure of the newly-designated documents or materials, and shall make reasonable efforts to

retrieve such documents and materials and to prevent further disclosure.

               12.     Designation by either party of information or documents as

“Confidential,” or failure to so designate, will not be constitute an admission that information or

documents are or are not confidential or trade secrets. Neither party may introduce into evidence

in any proceeding between the parties, other than a motion to determine whether the Protective




Page 6 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR       Document 15       Filed 12/21/22      Page 7 of 10




Order covers the information or documents in dispute, the fact that the other party designated or

failed to designate information or documents as “Confidential.”

               13.     Upon the request of the producing party or third party, within 30 days after

the entry of a final judgment no longer subject to appeal on the merits of this case, or the

execution of any agreement between the parties to resolve amicably and settle this case, the

parties and any person authorized by this Protective Order to receive confidential information

shall return to the producing party or third party, or destroy, all information and documents

subject to this Protective Order. Returned materials shall be delivered in sealed envelopes

marked “Confidential” to respective counsel. The party requesting the return of materials shall

pay the reasonable costs of responding to its request. Notwithstanding the foregoing, counsel for

a party may retain archival copies of confidential documents.

               14.     This Protective Order shall not constitute a waiver of any party’s or non-

party’s right to oppose any discovery request or object to the admissibility of any document,

testimony or other information.

               15.     Nothing in this Protective Order shall prejudice any party from seeking

amendments to expand or restrict the rights of access to and use of confidential information, or

other modifications, subject to order by the Court.

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Page 7 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR        Document 15        Filed 12/21/22      Page 8 of 10




                16.     The restrictions on disclosure and use of confidential information shall

survive the conclusion of this action and this Court shall retain jurisdiction of this action after its

conclusion for the purpose of enforcing the terms of this Protective Order.

                SO STIPULATED:



   BRAGUE LAW FIRM                                    MILLER NASH LLP



                                                            s/Michael Porter
   Kevin C. Brague, OSB No. 050428                    Michael Porter, P.C., OSB No. 003560
   kevin@braguelawfirm.com                            mike.porter@millernash.com
   4504 S Corbett Ave, Ste 250                        Erin M. Burris, OSB No. 155379
   Portland, OR 97239                                 erin.burris@millernash.com
   Telephone: (503) 922-2243                          111 SW Fifth Ave, Ste 3400
                                                      Portland, OR 97204
   Attorney for Plaintiff                             Telephone: (503) 224-5858

                                                      Attorneys for Defendants
   DATED: December 21, 2022                           University of Portland and Megan Burton

                                                      DATED: December 21, 2022




Page 8 -    Stipulated Protective Order
           Case 3:22-cv-01680-JR       Document 15       Filed 12/21/22     Page 9 of 10




               The Court has reviewed the reasons offered in support of entry of this Stipulated

Protective Order and finds that there is good cause to protect the confidential nature of certain

information. Accordingly, the Court adopts the above Stipulated Protective Order in this action.

               IT IS SO ORDERED.



               DATED:           12/21/2022




                                                       /s/ Jolie A. Russo
                                                      Jolie A. Russo
                                                      U.S. Magistrate Judge




Page 9 -    Stipulated Protective Order
        Case 3:22-cv-01680-JR         Document 15       Filed 12/21/22     Page 10 of 10




                                           EXHIBIT A


               I, _________________________________, have been advised by counsel of

record for _________________________________ in _________________________________

of the protective order governing the delivery, publication, and disclosure of confidential

documents and information produced in this litigation. I have read a copy of the protective order

and agree to abide by its terms.




                                                     Signed



                                                     Printed Name



                                                     Date




Page 10 - Stipulated Protective Order
